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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7 UNITED STATES OF AMERICA,                            )
                                                        )
 8                         Plaintiff,                   )       Case No. 2:14-cr-00321-GMN-NJK
                                                        )
 9 vs.                                                  )
                                                        )       ORDER SETTING HEARING
10 KEITH WILLIAMS,                                      )
                                                        )
11                         Defendant.                   )       (Docket No. 123)
                                                        )
12
13          Defendant Keith Williams has submitted a letter requesting removal of his court-appointed
14 attorney, and the appointment of new counsel. Docket No. 123. Although this is not the proper vehicle
15 to make a request with the Court, the Court hereby sets a hearing on December 29, 2015, at 2:00 p.m.
16 in courtroom 3B. Defendant and his counsel are required to be present in the courtroom at the hearing.
17          IT IS SO ORDERED.
18          DATED: December 16, 2015.
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                                                 ______________________________________
20                                               NANCY J. KOPPE
                                                 United States Magistrate Judge
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